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            EXHIBIT B

Ml Gmail                                    Jenna Ryan <jennaryanrealty@gmail.com>


Arbitration with PayPal
John Pierce <jpierce@johnpiercelaw.com> Mon, Jun 19, 2023 at 9:11 AM
To: Jenna Ryan <jennaryanrealty@gmail.com>


 Hi Jenna. I talked to my team about that, and the consensus is approximately $350K.




 From: Jenna Ryan <jennaryanrealty@gmail.com>
 Sent: Sunday, June 18, 2023 1:10 PM
 To: John Pierce <jpierce@johnpiercelaw.com>
 Subject: Arbitration with PayPal



 Hi John,



 How much do you think it will take to do the arbitration against

 PayPal? That's one thing that Pravati Capital asked me. What

do you think?
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          Text Communication with Attorney Tom Shaw
                        July 26, 2023 @ 8:38 am

                            EXHIBIT B

                               New iMessage               Cancel




            To: Tom Shaw


             Based on the description of
             facts you provided to me
             when we met, the cost of
             arbitrating your dispute is
             not less than $250,000 and
             likely more than that
             depending on how
             aggressively it is defended.

             That is the extent to which I
             can help you. Good luck
Gmail - FW: Pravati Capital Introduction                                                https://mail.google.eom/mail/u/2/?ik=f14031782d&view=pt&searcli=...
               Case 4:22-cv-00559-ALM Document 30-2 Filed 11/06/23 Page 3 of 3 PageID #: 553

                                                            W: pravaticapital.com



                               EXHIBIT B

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          please communicate to the sender and delete this message and any attachment or content from your systems. If this email has been sent to

          you in error, please destroy and not copy this message or disclose the contents to any other entity. This is not an offering of securities.




          From: John Pierce <jpierce@johnpiercelaw.com>
          Sent: Monday, June 19, 2023 7:13 AM
          To: Aaron Lloyd <aaron@pravaticapital.com>
          Cc: Samantha Polk <samantha@pravaticapital.com>
          Subject: RE: Pravati Capital Introduction



          Circling back on this one with Jenna against PayPal, I conferred with my team and the
          consensus is approximately $350K including fees and costs. Let me know if you have
          any questions. I still have a couple other cases I will be sending you. Hope everyone
          had a nice holiday weekend.



          John




          From: Aaron Lloyd <aaron@pravaticapital.com>
          Sent: Thursday, June 8, 2023 2:08 PM
         To: John Pierce <jpierce@johnpiercelaw.com>
         Cc: Samantha Polk <samantha@pravaticapital.com>
         Subject: RE: Pravati Capital Introduction



         John,




         Thanks for sending Jenna Ryan over to us. I spoke to her this morning. She

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